      Case 3:11-cr-00012-RLY-CMM                              Document 401             Filed 06/18/15              Page 1 of 1 PageID #:
                                                                    1345
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)            Page 1 of 2 (Page 2 Not for Public Disclosure)


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                           Southern District
                                                         __________ District of
                                                                             ofIndiana
                                                                                __________

                    United States of America
                               v.                                            )
                      Juan Gerardo Segovia                                   )
                                                                             )   Case No: 3:11CR00012-001
                                                                             )   USM No: 42877-177
Date of Original Judgment:                               05/30/2012          )
Date of Previous Amended Judgment:                                           )   Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                        Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   87                      months is reduced to 70 months                            .
                                                  (Complete Parts I and II of Page 2 when motion is granted)




                   A CERTIFIED TRUE COPY
                   Laura A. Briggs, Clerk
                   U.S. District Court
                   Southern District of Indiana

                   By
                                         Deputy Clerk


Except as otherwise provided, all provisions of the judgment dated                           05/30/2012             shall remain in effect.
IT IS SO ORDERED.

Order Date:              6/18/2015
                                                                                                         Judge’s signature


Effective Date:              11/01/2015                                    Honorable Richard L. Young, Chief U.S. District Court Judge
                     (if different from order date)                                                    Printed name and title
